     Case 6:20-bk-14685-MH Doc 15-1 Filed 10/26/20 Entered 10/26/20 15:38:28                                         Desc
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                                        United States Bankruptcy Court
                                          Central District of California
                                        3420 Twelfth Street, Riverside, CA 92501−3819

                                      NOTICE OF POSSIBLE DIVIDEND AND
                                      ORDER FIXING TIME TO FILE CLAIMS

    DEBTOR(S) INFORMATION:                                               BANKRUPTCY NO. 6:20−bk−14685−MH
    Jeannie Valerie Meza                                                 CHAPTER 7
    SSN: xxx−xx−2853
    EIN: N/A
    3607 N E St
    San Bernardino, CA 92405




Notice is hereby given that sufficient assets may become available for a distribution to creditors in the above−captioned
bankruptcy case.
Therefore, in accordance with the provisions of Bankruptcy Rule 3002(c)(5), creditors must file their proofs of claim on or
before January 29, 2021.
ANY CREDITOR WHO HAS PREVIOUSLY FILED A PROOF OF CLAIM NEED NOT FILE AGAIN.
A Proof of Claim form (Official Form 410) can be obtained at the United States Court's website:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office.




                                                                               For The Court,
Dated: October 27, 2020                                                        Kathleen J. Campbell
                                                                               Clerk of Court




(Form ntcpdiv − VAN−10) Rev 12/2015                                                                                           15 /
